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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

 ANNE SAVARESE,                             :
                                            :
               Plaintiff,                   :       Case No. 2:17-cv-01017
                                            :
        vs.                                 :       Judge Smith
                                            :
 LIBERTY LIFE ASSURANCE                     :       Magistrate Judge Deavers
 COMPANY OF BOSTON, et al.,                 :
                                            :
               Defendants.                  :

     VOLUNTARY DISMISSAL OF CLAIMS AGAINST DEFENDANT CENTENE
       MANAGEMENT COMPANY, LLC LONG-TERM DISABILITY PLAN


      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Anne Savarese, hereby dismisses,

without prejudice, her claims against Defendant Centene Management Company, LLC Long-Term

Disability Plan only. Plaintiff is not dismissing her claims against Defendant Liberty Life

Assurance Company of Boston.



                                                Respectfully submitted,

                                                /s/ Gregory R. Mansell
                                                                         ______________
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of January 2018, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.




                                                       /s/ Gregory R. Mansell
                                                       Gregory R. Mansell (0085197)




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